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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 21-81183-CIV-SINGHAL

 NELSON FERNANDEZ,

       Plaintiff,

 v.

 CHARLESTON SHOE COMPANY-FL, LLC,
 d/b/a CHARLESTON SHOE COMPANY,

      Defendant.
 __________________________________________/

                                 ORDER OF DISMISSAL

       THIS CAUSE is before the Court on the Plaintiff’s Notice of Voluntary Dismissal

 With Prejudice (DE [7]). The Court having reviewed the notice and being otherwise fully

 advised in the premises, it is hereby

       ORDERED AND ADJUDGED that this cause shall stand DISMISSED WITH

 PREJUDICE. Each party shall bear its own fees and costs. The Clerk of Court is directed

 to CLOSE this case and DENY AS MOOT any pending motions.

       DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 31st day of

 August 2021.




 Copies furnished to counsel of record via CM/ECF
